on Oo ON Oo on FF WO HH =

Ph PMO RP KD NY MD NYP PLT NO | BS HS SP SFP SFP BF Fe S| S
oOo nN ODO On BR WO DY |= 8D O DB NN DO TD FR WO NO =|

|

 

Case 14-50333-gs Doc 541 Entered 08/13/19 14:13:46 Page 1of6

Anthony G. Thomas
7725 Peavine Peak Court

Reno, NV 89523

Tel: (408) 640-2795
E-mail: atemerald2@gmail.com

Debtor In Propria Persona

IN RE:

ANTHONY THOMAS and

WENDI THOMAS

AT EMERALD, LLC

Debtors.

RECEIV
AND FILED

QOISAUG 12 AMI: 7

U 5. BARARUS ivy

MARY A. SCHOTT im

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO
Case No. BK-N-14-50333-BTB

Case No. BK-N-14-50331-BTB
(Jointly Administered)

QO

HAPTER 7

AP No.: NV-19-1184
K Ct. Appeal Reference #: 19-27

OW

1. DESIGNATION OF RECORD
2. STATEMENT OF ISSUES ON APPEAL
3. NOTICE RE: ORDERING OF TRANSCRIPTS

 

PLEASE TAKE NOTE that Debtor Anthony G. Thomas hereby provides the
folowing Designation of Record:

Filing Date # Docket Text

11/29/2018

11/29/2018

11/29/2018

11/29/2018

12/17/2018

12/21/2018

430

431

432

433

436
439

440

(4 pgs) Motion to Sell Filed by JEFFREY L HARTMAN on behalf of JERI
COPPA-KNUDSON (HARTMAN, JEFFREY)

(6 pgs) Declaration Of: Hudson Stremmel Filed by JEFFREY L
HARTMAN on behalf of JERI COPPA-KNUDSON

(2 pgs) Notice of Hearing Hearing Date: 01/08/2019 Hearing Time: 2:00
p.m. Filed by JEFFREY L HARTMAN on behalf of JERI COPPA-
KNUDSON

(4 pgs) Application for Compensation for JERI COPPA-KNUDSON ,
Fees: $3225.00, Expenses: $1231.00.

(35 pgs) Transcript regarding Hearing Held on 11/02/18.

(214 pgs; 2 docs) Motion to Continue/Reschedule Hearing , Motion for
Order Shortening Time, With Certificate of Service Filed by ANTHONY
THOMAS

(25 pgs) Transcript regarding Hearing Held on 12/17/18.

THOMAS’S DESIGNATION OF RECORD, ISSUES ON APPEAL & TRANSCHIFT ORDER

 
oD © oO NN OO oO FF WO DY =

NR PR NM NM NM NYO NB DO YN FF BSF BSB BAB |= Fe Fr >- >
oOo nN © oO FP WHO DBS = OO OO DBnN ODO TD FP WD NY =

 

Case 14-50333-gs Doc 541 Entered 08/13/19 14:13:46 Page 2 of 6

01/10/2019
01/17/2019

02/04/2019

02/21/2019

03/04/2019
03/14/2019
03/14/2019
03/14/2019
03/15/2019

03/15/2019

03/15/2019

03/22/2019

03/25/2019

03/25/2019

04/08/2019
05/17/2019

05/29/2019
06/03/2019
06/12/2019

448

451

455

461

468
473
475
476

477

478

482

483

484

485

487

490

492
493
495

(48 pgs) Transcript regarding Hearing Held on 01/04/19.

(3 pgs) Order to Set Hearing Evidentiary Hearing scheduled for
3/22/2019 at 10:00 AM at BTB RN-Courtroom 2,

(4 pgs; 2 docs) Declaration Of: Trustee Jeri Coppa-Knudson Filed by
JEFFREY L HARTMAN on behalf of JERI COPPA-KNUDSON

(10 pgs) Declaration Of: Anthony G. Thomas Filed by ANTHONY
THOMAS

(19 pgs) Transcript regarding Hearing Held on 02/22/19.

(10 pgs) Transcript regarding Hearing Held on 03/06/19.

(6 pgs) Request for Judicial Notice Filed by ANTHONY THOMAS
(129 pgs) Opposition Filed by ANTHONY THOMAS

(11 pgs) Trustee's Reply to Debtors’ Opposition Filed by JEFFREY L
HARTMAN on behalf of JERI COPPA-KNUDSON

(72 pgs; 8 docs) Declaration Of: Jeffrey L. Hartman Filed by JEFFREY L
HARTMAN on behalf of JERI COPPA-KNUDSON (Related
document(s)477 Reply filed by Trustee JERI COPPA-KNUDSON)
(Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D#5
Exhibit E # 6 Exhibit F # 7 Exhibit G)

(16 pgs) Request for Judicial Notice with Certificate of Service Filed by
ANTHONY THOMAS

(233 pgs; 3 docs) Motion to Recuse Judge terminating Judge adding
Judge Filed by ANTHONY THOMAS (Attachments: # 1 Exhibit 1 #2
Exhibit 2)(cly)

(1 pg) Order on Motion to Recuse Judge BRUCE T. BEESLEY and add
Judge (Related document(s)483 Motion to Recuse Judge filed by Debtor
ANTHONY THOMAS.) (cly) (Entered: 03/25/2019)

Order Reassigning Case to Bankruptcy Judge GARY SPRAKER. (vap)
(Entered: 03/25/2019)

(83 pgs) Transcript regarding Hearing Held on 03/22/19.

(2 pgs) Scheduling Order (BNC) Status Hearing to be held on 6/4/2019 at
02:00 PM at BTB RN-Courtroom 2, Young Bldg.. Scheduling Conference
scheduled for 6/4/2019 at 02:00 PM at BTB RN-Courtroom 2, Young
Bldg..

Order Reopening Adversary Case for Administrative Purposes

(4 pgs) Declaration Of: ANTHONY G. THOMAS

(3 pgs) Scheduling Order (BNC) Evidentiary Hearing scheduled for

2

THOMAS'S DESIGNATION OF RECORD, (SSUES ON APPEAL E TRANSCRIPT ORDER

 
oO O© Oo NN OO oO FF WwW NY =

mo NO NY NM NY NY NY DY NY FP FP Fe Fr Fe rr-* 2
on OO oO fF WOW DBS |= OO OD DA N DO OT FF WO YP =

 

Case 14-50333-gs Doc 541 Entered 08/13/19 14:13:46 Page 3 of 6

7/19/2019 at 01:00 PM at BTB RN-Courtroom 2, Young Bidg..
06/14/2019 496 (6 pgs) BNC Certificate of Mailing - pdf

06/21/2019 498 (3 pgs) Notice of Hearing of Continued Hearing on Motion for Order
Confirming Sale by Auction; Request for Approval of Payment of
Commission to Stremmel Auctions Hearing Date: 07/19/19 Hearing Time:
1:00 p.m. Filed by JEFFREY L HARTMAN on behalf of JERI COPPA-
KNUDSON

06/25/2019 499 (7 pgs) Certificate of Service Filed by JEFFREY L HARTMAN on behalf
of JERI COPPA-KNUDSON

500 ___—si Transcript regarding Hearing Held on 06/04/19.
07/08/2019 507 (8 pgs) Supplemental Opposition Filed by ANTHONY THOMAS
07/08/2019 508 (74 pgs) Motion to Vacate , Application for Judicial Notice of Law & Facts
Rule 60(b)(4) Filed by ANTHONY THOMAS (Related document(s)190
Order Converting Case to Chapter 7)

07/08/2019 509 (21 pgs) Motion To Stay , Motion to Vacate with Certificate of Service
Filed by ANTHONY THOMAS

510 Sale Procedures Order (BNC) Hearing scheduled 8/7/2019

07/12/2019 511 (2 pgs) Clerk Forwarded Document to BNC for Noticing.

07/12/2019 512 (4 pgs) Order (1) Regarding Pending Motions And Debtor's Request To
Stay Of Proceedings, And (2) Overruling Debtor's Objections To The
Trustee's Bid Procedures Order (BNC) Hearing scheduled 9/13/2019 at
09:30 AM at GS RN-Courtroom 2, Young Bldg..

07/14/2019 513 (4 pgs) BNC Certificate of Mailing - pdf

07/14/2019 514 (7 pgs) BNC Certificate of Mailing - pdf

07/14/2019 515 (5 pgs) BNC Certificate of Mailing - pdf

07/18/2019 516 (8pgs) Motion To Stay with Proposed Order with Certificate of Service
Filed by ANTHONY THOMAS

07/18/2019 517 (8 pgs) Motion for Order Shortening Time with Proposed Order with
Certificate of Service Filed by ANTHONY THOMAS

07/19/2019 518 (2 pgs) Order Granting Motion for Order Shortening Time (Related
document(s) 517). Hearing scheduled 7/19/2019 at 01:00 PM at GS RN-
Courtroom 2, Young Bldg.. (Related document(s)516 Motion To Stay filed
by Debtor ANTHONY THOMAS.)

07/19/2019 519 (2 pgs) Clerk Forwarded Document to BNC for Noticing. (Related
document(s)518 Order on Motion for Order Shortening Time)

07/19/2019 520 (52 pgs) Notice of Appeal. Filed by ANTHONY THOMAS Receipt Number
97603, Fee Amount $298 (Related document(s)510 Scheduling Order

3
THOMAS S DESIGNATION OF RECORD, ISSUES ON APPEAL & TRANSCRIPT ORDER

 
—

oOo © OA NN OD Oo FP W DN

NM DN NM NM NYO NY PD PH KE | BSF BSB BSB Be Be an Se a> oe
oN OD oO FP WO NH H=H-F OO OF DAN DO OT FP WO DN =|

07/19/2019

07/21/2019

07/23/2019

} 07/23/2019

07/23/2019

07/23/2019

07/26/2019

07/26/2019

07/31/2019

08/02/2019
08/06/2019

 

521

522

523

524

525

526

527

532

533

534

535
536

Case 14-50333-gs Doc 541 Entered 08/13/19 14:13:46 Page 4 of 6

(BNC), 512 Scheduling Order (BNC).)
(52 pgs) Motion To Stay Filed by ANTHONY THOMAS

(4 pgs) BNC Certificate of Mailing - pdf (Related document(s)519
Document Forwarded to BNC for Noticing (BNC)) No. of Notices: 1
Notice Date 07/21/2019.

Appeal Reference Number 19-27 (Related document(s)520 Notice of
Appeal filed by Debtor ANTHONY THOMAS.)

(1 pg) Notice of Referral of Appeal to BAP. Appeal Reference # 19-27
(Related document(s)520 Notice of Appeal filed by Debtor ANTHONY
THOMAS.)

(1 pg) Transmittal Form to BAP (Related document(s)520 Notice of
Appeal filed by Debtor ANTHONY THOMAS.)

(1 pg) Appeal Memorandum to BAP. Appeal Reference # 19-27 (Related
document(s)520 Notice of Appeal filed by Debtor ANTHONY
THOMAS.)

(52 pgs) Clerk Forwarded Appeal Documents to BNC for Noticing to: BAP
(Related document(s)520 Notice of 8/7/2019

(3 pgs) Order Continued Motion To Sell (Related document(s) 430)
Hearing Scheduled/Rescheduled. Hearing scheduled 10/4/2019 at 09:00
AM at GS RN-Courtroom 2, Young Bidg.. (Related document(s)430
Motion to Sell filed by Trustee JERI COPPA-KNUDSON) (cly)

(2 pgs) Scheduling Order (BNC) Hearing scheduled 9/13/2019 at 09:30
AM at GS RN-Courtroom 2, Young Bldg..

(4 pgs) BNC Certificate of Mailing - pdf
(1 pg) Status Report Forwarded to: BAP. Appeal Reference # 19-27 BAP

NV-19-1184 (Related document(s)520 Notice of Appeal filed by Debtor
ANTHONY THOMAS.)

2. STATEMENT OF ISSUES ON APPEAL
Debtor Anthony Thomas, appearing In Propria Persona hereby reserves the right
to expand upon the following issues on appeal in his opening appellate brief, and thus
includes but is not limited to the following statement of issues on appeal:
A. WHETHER JUDGE SPRAKER’S SALES PROCEDURES ORDER DE 510
FILED ON 7-12-2019 IS VOID ON ITS’ FACE FOR FAILURE TO COMPLY
WITH RENO BK RULE 9021
B. WHETHER JUDGE SPRAKER’S ORDERS ARE VOID DUE TO THE FAILURE

OF ATTORNEY HARTMAN, ATTORNEY FOR THE U.S. TRUSTEE’S FAILURE
TO GIVE PRIOR NOTICE OF THE SALE OF THE THOMAS EMERALD BY

4

THOMAE'S DESIGNATION OF RECORD, ISSUES ON APPEAL & TRANSCRIPT ORDER

 
—_—

oT Oo ON Do FR WwW NY

PR RPO RN DR PD DP KN KH KN | S| | FF S| OF FP FSF KF SS
on OD OO BR WO HB BA OC OF DB NN OD TO FPF WO NY =

 

Case 14-50333-gs Doc 541 Entered 08/13/19 14:13:46 Page 5 of 6

of the

FAILURE TO COMPLY WITH THE PROVISIONS OF U.S. BANKRUPTCY
CODE § 363(b) AND BK RULES 6004 AND 2002

WHETHER IT WAS AN ABUSE OF DISCRETION TO NOT ALLOW FOR A
STAY OF PROCEEDINGS PENDING HEARING OF THOMAS’S RULE 60(b)
MOTION TO VACATE VOID CONVERSION ORDER

WHETHER THE JUDGE SPRAKER’S ORDERS ARE VOID FOR FAILURE TO
PROPERLY STATE THE TRUE FACTS THAT IT WAS NOT TERSINI OR
JENNIFER JODOIN THAT IS THE HIGHEST BIDDER, BUT WAS IN FACT
ANTHONY THOMAS AS EVIDENCED BY THE TRANSCRIPT OF 6-4-2019

WHETHER JUDGE SPRAKER’S OTHER ORDERS WERE VOID FOR

FAILURE TO ALLOW APPELLANT THOMAS TO REVIEW AND MAKE

Osee CHANGES TO THE ORDERS PRIOR TO BEING SIGNED BY THE
G

WHETHER ADMISSIONS FROM HARTMAN MADE ON THE RECORD ON 7-
19-2019 THAT HE AND THE RENO BK COURT HAVE NOT FOLLOWED THE
RULES REGARDING NOTICE PRIOR TO SALE FOR A LONG TIME
ESTABLISH THAT THE ATTEMPT TO SELL THE THOMAS EMERALD IS
VOID ON IT’S FACE

TRANSCRIPTS ORDERED:
On Friday August 9" 2019, Debtor Anthony G. Thomas did in fact order a copy

transcript of 7-19-2019.

— >
Dated: August 9" 2019. Vena ale" Py

 

Anthony G. Thomas
Delitor In Propria Persona

THOMAS'S DESIGNATION OF RECORD, ISSUES ON APPEAL & TRANSCRIPT ORDER

 
 

Case 14-50333-gs Doc 541 Entered 08/13/19 14:13:46 Page 6 of 6

CERTIFICATE OF SERVICE

| Francis Thomas certify that | am an adult, over the age of 18 years, not a party to the
action herein who resides in Santa Clara County, California. | caused to be served the following
documents via e-mail to the following persons as listed below from my e-mail address of
fxthomas@pacbell.net as follows:

DOCUMENTS SERVED:

1. THOMAS’S DESIGNATION OF RECORD, ISSUES ON APPEAL &
TRANSCRIPT ORDER

as follows:

JEFFREY A. COGAN

jeffrey@jeffreycogan.com, beautausinga@gmail.com, beau@jeffreycogan.com
JERI COPPA-KNUDSON VIA E-MAIL & US MAIL: 3495 Lakeside PMB 62 Dr. Reno,
NV 89509

renobktrustee@gmail.com, jcoppaknudson@ecf.episystems.com

KEVIN A. DARBY

kad@darbylawpractice.com, tricia@darbylawpractice.com, jill@darbylawpractice.com,
hersh@darbylawpractice.com, sam@darbylawpractice.com

JEFFREY L. HARTMAN VIA E-MAIL & US MAIL: 510 W. Plumb Lane Suite B - Reno,
NV 89509

notices@bankruptcyreno.com, sji@bankruptcyreno.com

TIMOTHY A. LUCAS

ecflukast@hollandhart.com

LAURY MILES MACAULEY

laury@macauleylawgroup.com

WILLIAM MCGRANE

ECF-8116edf28c97 @ecf.pacerpro.com, mitch.chyette@mcgranellp.com
STEPHANIE T. SHARP

ssharp@rssblaw.com, cobrien@rssblaw.com

WAYNE A. SILVER

w_silver@sbcglobal.net, ws@waynesilverlaw.com

ALAN R. SMITH

mail@asmithlaw.com

STEVEN C. SMITH

ssmith@smith-Ilc.com, mbrandt@smith-Ic.com

AMY N. TIRRE

amy@amytirrelaw.com, admin@amytirrelaw.com

U.S. TRUSTEE - RN - 7,7

USTPRegion17.RE.ECF @usdoj.gov

JOSEPH G. WENT

jgwent@hollandhart.com, vilarsen@hollandhart.com

») 5

C ao Ye

Francis X. Thomas

| declare under penalty of perjury that the foregoing ee correct.
Dated: August 9" 2019.

 

THO

 

 

 
